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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )                 8:22CR4
                                             )
      vs.                                    )
                                             )
RAYMOND MCGAUGH, JR.,                        )                   ORDER
                                             )
                   Defendant.                )
                                             )
                                             )
                                             )
                                             )

       This matter is before the court on defendant’s Unopposed Motion to Continue Trial
 [35]. For the reasons stated in the motion, the undersigned magistrate judge finds good
 cause for the continuance. Accordingly,


        IT IS ORDERED that the Unopposed Motion to Continue Trial [35] is granted, as
 follows:

       1. The jury trial now set for October 4, 2022, is continued to November 15, 2022.

       2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
          justice will be served by granting this continuance and outweigh the interests
          of the public and the defendants in a speedy trial. Any additional time arising
          as a result of the granting of this motion, that is, the time between today’s date
          and November 15, 2022, shall be deemed excludable time in any computation
          of time under the requirement of the Speedy Trial Act. Failure to grant a
          continuance would deny counsel the reasonable time necessary for effective
          preparation, taking into account the exercise of due diligence. 18 U.S.C. §
          3161(h)(6), (7)(A) & (B)(iv).

       DATED: September 20, 2022

                                                 BY THE COURT:


                                                 s/ Michael D. Nelson
                                                 United States Magistrate Judge
